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UNITED STATES DISTRICT COURT z rm ,_\ _ 1
WESTERN DISTRICT OF TENNESSEE "'“"' "\U‘»>‘ 43 iii 35 55
Western Division

UNITED STATES OF AMERICA

 

-vs- Case No. 2:05cr20303-B

LORENZO DAVIS

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

 

- The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
DONE and ORDERED m 167 North Main, Memphis, this_g')._Q_ _g'l._Q_day of August,
2005.
MU_,_
TU M. PHAM

UNITED STATES MAGISTRATE ]UDGE
Copies furnished to:

United StateS Attorney

United States Marshal

Pretrial Services Oftice

Assistant Federal Public Defender

Intake
LORENZO DAVIS
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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20303 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listcd.

 

 

PDA

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l\/lemphis7 TN 38103

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

